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                 EXHIBIT B
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       issued on January 21, 2025. All federal agencies are taking steps to implement these EOs,
       and promptly notifying all federal awardees. ETA, like all federal agencies, will provide
       further guidance on specific programs and activities within those programs.

4. Ceasing DEIA activities. All awardees must immediately cease all award activities related
   to DEI or DEIA. All other award activities should continue.

   ETA will issue further guidance on specific activities that are allowable and unallowable.

5. Inquiries. Please direct inquiries to the appropriate Regional Office.

6. References.
   • Executive Order, “Ending Radical and Wasteful Government DEI Programs and
      Preferencing,” January 20, 2025, available at https://www.whitehouse.gov/presidential-
      actions/2025/01/ending-radical-and-wasteful-government-dei-programs-and-
      preferencing/.
   • Executive Order, “Ending Illegal Discrimination and Restoring Merit-Based
      Opportunity,” January 21, 2025, available at https://www.whitehouse.gov/presidential-
      actions/2025/01/ending-illegal-discrimination-and-restoring-merit-based-opportunity/.

7. Attachments. N/A




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